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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                     CIVIL MINUTES – GENERAL

  Case No.      ED 16-cv-00355 VAP (DTBx)                             Date    12/3/2018
  Title Rashun Turner, et al v. County of San Bernardino



  Present: The Honorable      VIRGINIA A. PHILLIPS, CHIEF UNITED STATES DISTRICT JUDGE


                Beatrice Herrera                                        Myra Ponce
                 Deputy Clerk                                          Court Reporter


     Attorney(s) Present for Plaintiff(s):                  Attorney(s) Present for Defendant(s):
                Donald Specter
                                                                      Martin H. Dodd



  Proceedings:      1. JOINT MOTION FOR CLARIFICATION AND/OR MODIFICATION OF ORDER
                       GRANTING JOINT MOTION FOR PRELIMINARY APPROVAL OF CONSENT
                       DECREE; [DOC. NO. 85]
                    2. PLAINTIFF’S MOTION FOR ATTORNEYS’ FEES; [DOC NO. 92]
                    3. JOINT MOTION FOR APPROVAL OF CLASS ACTION SETTLEMENT; [DOC
                       NO. 97]



          Matter called. Counsel for the parties are present as referenced above. Court
  Issue’s tentative ruling and invites oral argument of Counsel. The Court having heard
  from counsel, takes the matter under submission. Court to issue final order. Counsel
  shall submit proposed order re: consent decree.


          IT IS SO ORDERED.




                                                                                             ____ : _03_
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                                                                             Initials of Deputy Clerk: bh
